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8
9                             UNITED STATES DISTRICT COURT
10                         SOUTHERN DISTRICT OF CALIFORNIA
11
12     ROCIO LOPEZ, individually and on                 Case No. '22CV0421 L   RBB
       behalf of all others similarly situated,
13
                         Plaintiff,                     CLASS ACTION COMPLAINT
14
             v.                                         JURY TRIAL DEMANDED
15
       ABBOTT LABORATORIES,
16
                                Defendant.
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1             Plaintiff Rocio Lopez (“Plaintiff”) brings this action on behalf of herself and
2      all others similarly situated against Defendant Abbott Laboratories (“Defendant”).
3      Plaintiff makes the following allegations pursuant to the investigation of her counsel
4      and based upon information and belief, except as to the allegations specifically
5      pertaining to herself, which is based on personal knowledge.
6                                    NATURE OF THE ACTION
7             1.     This is a putative class action lawsuit against Defendant for cheating
8      consumers by uniformly advertising, marketing, and selling nutritional food products
9      under the brand name “Similac” (collectively, the “Products,” enumerated below),
10     each of which prominently features the representations “Non-GMO,” or similar
11     claims related to the absence of ingredients derived from genetically modified
12     organisms (“GMO”) (collectively, the “Non-GMO Claims”). However, contrary to
13     Defendant’s claims, each of the purportedly “Non-GMO” Products do, in fact,
14     contain ingredients that are derived from genetically modified food sources and
15     therefore constitute GMOs.
16            2.     Defendant prominently labels every Product sold in the United States
17     as “Non-GMO.” Defendant does this because consumers perceive all-natural foods
18     as better, healthier, and more wholesome. Indeed, in recent years, consumers have
19     become significantly more aware and sensitive to genetically modified organisms
20     (“GMOs”) in their food. Many consumers want to avoid GMOs for a variety of
21     reasons, including, but not limited to, the following: (1) health risks associated with
22     ingesting foods derived from genetically modified (“GM”) crops;1 (2) concerns of
23     the ingestion of pesticides and other toxins; (3) interest in promoting sustainable
24     living and local farming; and (4) negative environmental effects associated with
25     growing GM crops. As a result, many consumers, including Plaintiff, try to buy
26     1
        GM crops such as canola, corn, and soy, are crops whose genetic material has been altered by
27     humans using genetic engineering techniques. The World Health Organization defines GMOs,
       which include GM crops, as “organisms in which the genetic material (DNA) has been altered in a
28     way that does not occur naturally.” Accordingly, GM crops are not natural, but man-made.


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1      products that are not derived from GMOs, and a movement has developed
2      demanding consumer products that are non-GMO products. Thus, the market for all
3      natural foods has grown rapidly in recent years, and Defendant seeks to take
4      advantage of this trend through false advertising.
5            3.       But Defendant’s Non-GMO Claims concerning the Products are false,
6      misleading, and deceptive to consumers, who reasonably understand such claims to
7      mean that a product was produced without genetic engineering and its ingredients are
8      not derived from GMOs.            Specifically, Plaintiff and consumers reasonably
9      understand Defendant’s Non-GMO Claims to mean that Defendant’s Products are
10     100% free of ingredients derived from GM crops or food sources sourced from
11     animals that have been raised on GMO feed. Yet, contrary to Defendant’s claims,
12     Defendant’s Products are in fact loaded with ingredients derived from GM-crops
13     such as corn and soy, and many of Defendant’s Products also contain protein and/or
14     dairy sources derived from cows raised on GMO feed. Defendant’s Products also
15     contain numerous artificial ingredients that were genetically engineered in a
16     laboratory setting using biotechnologies.       Accordingly, Defendant’s Non-GMO
17     Claims are misleading and highly deceptive to reasonable consumers.
18           4.       At issue are the following products, which all contain the representation
19     “Non-GMO” on the labeling and/or packaging: Similac Pro-Advance Ready-to-Feed
20     Infant Formula, Similac Pro-Advance Powder Infant Formula, Similac Pro-Advance
21     Powder Infant Formula with Iron, Similac Pro-Sensitive Ready-to-Feed Infant
22     Formula, Similac Pro-Total Comfort Ready-to-Feed Infant Formula, Similac Pro-
23     Total Comfort Baby Formula, Go & Grow by Similac Toddler Drink Powder, Go &
24     Grow by Similac Sensitive Toddler Drink for Lactose Sensitivity Powder, Pure Bliss
25     by Similac Toddler Drink Powder, Similac For Supplementation Gentle Infant
26     Formula Powder, and Similac For Spit-Up Easy-to-Digest Powder (collectively, the
27     “Products”).     As noted above, each of these purportedly “Non-GMO” Products
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1      contain GMOs. Plaintiff reserves the right to expand this Product list as more
2      information becomes available during discovery.
3            5.     By prominently featuring the Non-GMO Claims on the labeling and/or
4      packaging of its Products, Defendant intends to induce consumers to pay more than
5      they would pay for other comparable products that are not falsely labeled with Non-
6      GMO Claims, and consumers are so induced as a result of these claims. Thus,
7      although (as discussed below) the Products have been a marketing sensation and an
8      unmitigated financial success, Defendant’s success has been the result of fraudulent,
9      unlawful, and unfair business practices in the marketing and sale of the Products.
10     Defendant’s misleading representations and unfair business practices described
11     herein are plainly improper and unacceptable—particularly for a company that touts
12     that “We listen to moms and dads, and they’ve told us they want a non-G.M.O.
13     option;” that “We want to make sure we meet the desires of parents;” that “Over one-
14     third of [Similac] consumers say [non-GMO infant formula] would appeal to them
15     and given them peace of mind;”2 that “when parents told us they wanted a Non-
16     GMO option for their infant formula, we answered the call”; and that “We’re
17     expanding our product line with Similac Advance Non-GMO, which is the first and
18     only leading formula brand labeled Non-GMO in the U.S.”3
19           6.       For the foregoing reasons, Plaintiff brings this action individually and
20     on behalf of similarly situated individuals against Defendant for: (i) violation of
21     California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et
22     seq.; (ii) violation of California’s False Advertising Law (“FAL”), Cal. Bus. & Prof.
23     Code §§ 17500, et seq.; (iii) violation of California’s Consumers Legal Remedies
24     Act (“CLRA”), Cal. Civ. Code §§ 1750, et seq.; (iv) breach of express warranty; (v)
25     breach of the implied warranty of merchantability; (vi) unjust enrichment /
26     2
         Stephanie Strom, “Similac Advance Infant Formula to Be Offered G.M.O-Free,” The New York
       Times (May 25, 2015), https://www.nytimes.com/2015/05/26/business/similac-advance-infant-
27     formula-to-be-offered-gmo-free.html (last accessed Mar. 9, 2022).
       3
         Similac, “Similac Advance Non-GMO – a Non-GMO option from the brand you trust,”
28     https://static.abbottnutrition.com/cms-prod/similac.com/img/SIM-PDF-NON-GMO-FAQ.pdf.
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1      restitution; (vii) negligent misrepresentation; (viii) fraud; and (ix) fraudulent
2      misrepresentation.
3                                           PARTIES
4            7.    Plaintiff Rocio Lopez is a natural person and a citizen of California who
5      resides in Imperial, California.     In approximately October 2021, Ms. Lopez
6      purchased Defendant’s Similac Pro-Advance Infant Formula With Iron Milk-Based
7      Powder from a Costco brick-and-mortar retail store located in Imperial. Prior to her
8      purchase, Ms. Lopez reviewed the labeling, packaging, and marketing materials of
9      her Products and saw the false and misleading claims that, among other things, the
10     Products are purportedly “Non-GMO” infant formulas. Ms. Lopez understood these
11     claims to be representations and warranties by Defendant that the Products are free
12     of all traces of GMOs, do not contain ingredients derived from GM crops, and do not
13     contain any other synthetic ingredients created in a laboratory through the use of
14     biotechnologies.     Ms. Lopez reasonably relied on these representations and
15     warranties in deciding to purchase the Products, and these representations were part
16     of the basis of the bargain in that she would not have purchased the Products, or
17     would not have purchased them on the same terms, if the true facts had been known.
18     As a direct result of Defendant’s material misrepresentations and omissions, Ms.
19     Lopez suffered, and continues to suffer, economic injuries.
20           8.    Plaintiff continues to desire to purchase infant formulas that are Non-
21     GMO from Defendant. However, Plaintiff is unable to determine if the Product is
22     actually made from ingredients that are Non-GMO. Plaintiff understands that the
23     composition of the Product may change over time. But as long as Defendant may
24     use the phrase “Non-GMO” to describe the Product and it is not actually Non-GMO,
25     then when presented with false or misleading information when shopping, she will
26     be unable to make informed decisions about whether to purchase Defendant’s
27     Product and will be unable to evaluate the different prices between Defendant’s
28     Product and competitor’s Products. Plaintiff is further likely to repeatedly be misled
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1      by Defendant’s conduct, unless and until Defendant is compelled to ensure that
2      Products marketed, labeled, packaged, and advertised as Non-GMO, are in fact Non-
3      GMO.
4            9.     Defendant Abbott Laboratories is an Illinois corporation with its
5      principal place of business in Chicago, Illinois. Defendant Abbott Laboratories sells
6      its baby food and infant formulas under the “Similac” brand name. Similac’s baby
7      food products and infant formulas are sold nationwide, including throughout the
8      State of California.
9                                 JURISDICTION AND VENUE
10           10.     This Court has subject matter jurisdiction over this action pursuant to
11     28 U.S.C. § 1332(d) because there are more than 100 class members and the
12     aggregate amount in controversy exceeds $5,000,000.00, exclusive of interest, fees,
13     and costs, and at least one Class member is a citizen of a state different from
14     Defendant.
15           11.    This Court has personal jurisdiction over Defendant because Defendant
16     purposefully availed itself of this forum by conducting substantial business within
17     California such that Defendant has significant, continuous, and pervasive contacts
18     with the State of California.
19           12.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because
20     Defendant does substantial business in this District and a substantial part of the
21     events giving rise to Plaintiff’s claims took place within this District, as Plaintiff
22     purchased the Products in this District and is a citizen and resident of this District.
23                                 FACTUAL ALLEGATIONS
24           A.     Background on Genetically Modified Organisms (“GMOs”)
25           13.    The World Health Organization defines genetically modified organisms
26     (“GMOs”) as “organisms in which the genetic material (DNA) has been altered in a
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       CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                              5
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1      way that does not occur naturally.”4
2             14.    Genetic modification (“GM”), also called genetic engineering,
3      biotechnology, or bioengineering, is the process scientists use to make GMOs. It is
4      an artificial laboratory-based technique that is specifically designed to enable the
5      transfer of genes between unrelated or distantly related organisms. It includes any
6      process in which genetic material is artificially manipulated in a laboratory, and may
7      involve creating combinations of plant, animal, bacteria, and virus genes that do not
8      occur in nature or through traditional crossbreeding methods. Genetic engineering
9      also includes newer forms of biotechnology such as CRISPR, TALEN, RNAi, ODM,
10     and gene drives. These techniques confer new properties or “traits” that are not
11     naturally present in the organism. When incorporated into the DNA of an organism,
12     genetically modified genes modify the functional characteristics – the traits – of an
13     organism.
14            15.    GM crops, such as canola, corn, and soy, are crops whose genetic
15     material has been altered by humans using genetic engineering techniques. GM
16     crops are not natural, but man-made. There are wide-ranging controversies related to
17     GM crops, including health risks from ingesting GM foods and negative
18     environmental effects associated with growing GM crops.
19            16.    As of 2021, approximately 94% of soybeans, 92% of corn, and 93% of
20     canola grown in the United States are genetically modified, as are 95% of sugar
21     beets. 5
22
23     4
         World Health Organization (WHO), 20 questions on genetically modified foods (2002), available
       at http://www.who.int/foodsafety/publications/biotech/20questions/en/index.html.
24     5
         See Center for Food Safety, “About Genetically Engineered Foods,”
25     https://www.centerforfoodsafety.org/issues/311/ge-foods/about-ge-
       foods#:~:text=Center%20for%20Food%20Safety%20seeks,human%20health%20and%20the%20e
26     nvironment (last visited March 9, 2022); see also https://www.nestleusa.com/gmos/about-
       genetically-modified-crops-in-the-
27     us#:~:text=Approximately%2093%20percent%20of%20the,is%20from%20genetically%20modifie
       d%20seed.&text=Corn%20is%20the%20most%20widely,is%20from%20genetically%20modified
28     %20seeds (last visited March 9, 2022).

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1                    (a)    Corn (Approx. 92% of U.S. crop is GMO) – Corn is genetically
2      modified to be resistant to glyphosate or glufosinate herbicides. Most GM-corn is
3      used for human consumption. In food products, GM-corn crop is used to produce
4      corn flour, meal, oil, starch, modified food starch, corn gluten, corn syrup, and
5      sweeteners such as fructose, dextrose, glucose and modified come from corn.
6      Genetically modified corn has been linked to health problems, including weight gain
7      and organ disruption.
8                    (b)    Soybeans (Approx. 94% of U.S. crop is GMO) – Soybeans are
9      the most important crop worldwide for producing oil and protein. Soybean and its
10     processed derivatives are used in a multitude of food, groceries, supplements, and
11     cosmetics. Additionally, the remaining soy mass is used as protein-rich animal feed
12     for fish, poultry, pigs, and beef. Tolerance to herbicides is by far the most important
13     commercial characteristic of GM-soybeans. So, not only are soybeans a genetically
14     engineered food crop, but farmers are also forced to use more and more pesticides to
15     combat adaptive super bugs and super weeds, thereby creating additional health
16     concerns for consumers.
17                   (c)    Canola or Rapeseed (Approx. 93% of U.S. crop is GMO and
18     95% of Canada’s crop is GMO) – Canola oil, which was originally bred from
19     rapeseed in Canada, is now genetically engineered for resistance to herbicides
20     (glyphosate or glufosinate), for high laurate canola and oleic acid canola. It is
21     considered one of the most chemically altered oils sold in the U.S. and Canada.6
22                   (d)    Sugar Beets (Approx. 95% of U.S. crop is GMO) – Sugar beets
23     are genetically engineered to be RoundUp ready, like corn. GM-sugar beets are used
24
25
26
       6
27      See GMO 101, A Practical Guide: Potential Sources of Genetically Engineered Ingredients in
       Food, at 53, available at
28     https://play.google.com/books/reader?id=YeHXBQAAQBAJ&pg=GBS.PA2&hl=en.

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1      in refined sugar production, and the leftover fiber is used to feed animals at
2      Concentrated Animal Feeding Operations (“CAFO”).7
3             17.    Thus, any of the ingredients derived from domestically produced
4      canola, corn, peas, rice, or soybeans are highly likely to contain GMOs,
5      notwithstanding     Defendant’s      Non-GMO        Claims    or   similar    product    label
6      representations to the contrary.
7             B.     “Non-GMO” Is A Highly Profitable Descriptor
8             18.    Product packaging is a significant vehicle through which the purveyors
9      of natural and organic food products communicate material that they believe, and
10     reasonably expect, to be important to consumers in making purchasing decisions.
11            19.    The health food market is no longer a niche market. Consumers have
12     been increasingly health conscious since the 1970s. They seek out and covet food
13     products that are natural and healthy and look for labels that convey these qualities in
14     the foods they choose to purchase. According to Natural Foods Merchandiser, a
15     leading information provider for the natural, organic, and health food industry, the
16     natural food industry enjoyed over $166 billion in revenue in 2019. This means that
17     since 2010, the natural food industry has more than doubled in size since it hit $81
18     billion in 2010. Consumer demand for non-GMO foods is expected to rapidly
19     increase into the next decade as well.
20            20.    The designation “non-GMO” appeals to consumers for its health
21     attributes.   This designation also appeals to reasonable consumers’ interest in
22     protecting the environment, promoting sustainable living and local farming, and
23     minimizing people’s and the Earth’s exposure to pesticides and other toxins.
24            21.    Any doubt about the money generating power of natural and healthy
25     foods is dispelled by the entry and success of large conglomerates in the health food
26     market. For example, the well-known Kashi brand is owned by Kellogg, while
27     7
        Id. at 244 (“Anything not listed as 100% cane sugar is suspect. Look for organic and non-GMO
       sweeteners, candy and chocolate products made with 100% cane sugar, evaporated cane juice or
28     organic sugar, to avoid GM beet sugar.”).
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1       PepsiCo has recently acquired the natural food company, Be & Cheery, for $705
2       million. Additionally, the Odwalla brand has flourished and expanded significantly
3       since its purchase by the Coca-Cola Company in 2001 for $181 million.
4              22.    Indeed, Defendant has acknowledged that, “We listen to moms and
5       dads, and they’ve told us they want a non-G.M.O. option;” that “We want to make
6       sure we meet the desires of parents;” and that “Over one-third of [Similac]
7       consumers say [non-GMO infant formula] would appeal to them and given them
8       peace of mind.”8
9              C.     Consumer’s Understanding of GMOs and Non-GMO Claims
10             23.    While the abbreviated term “GMO” may generally refer to genetically
11      modified organisms, when used in food marketing and labeling, terms like “non-
12      GMO” and “GMO free” (which are reasonably understood by consumers to be
13      synonymous)9 have a broader meaning to consumers in that they convey food
14      products that do not contain and are not sourced or derived from genetically
15      engineered foods and methods, such as genetically engineered corn that ends up in
16      corn syrup and beef from a cow that was raised on a diet of genetically engineered or
17      modified food. Consumers have this understanding because of educational efforts by
18      8
          Stephanie Strom, “Similac Advance Infant Formula to Be Offered G.M.O-Free,” The New York
        Times (May 25, 2015), https://www.nytimes.com/2015/05/26/business/similac-advance-infant-
19      formula-to-be-offered-gmo-free.html (last accessed Mar. 9, 2022).
        9
20        In November 2015, the Food and Drug Administration (“FDA”) issued guidelines on the labeling
        of foods derived from genetically engineered plants and grouped the terms “GMO free,” GE free,”
21      “does not contain GMOs,” “non-GMO” “and similar claims” together. U.S. Food and Drug
        Administration, Guidance for Industry: Voluntary Labeling Indicating Whether Foods Have or
22      Have Not Been Derived from Genetically Engineered Plants (Mar. 2019), available at
        http://www.fda.gov/food/guidanceregulation/guidancedocumentsregulatoryinformation/ucm05909
23      8.htm#references (emphasis in original). The FDA also warned that the term “free” that is
        associated with these similar claims “conveys zero or total absence” of ingredients derived through
24      biotechnology and that these types of claims are “problematic” due to the challenges of
        substantiating such claims. Id. Thus, the FDA took care to appropriately group these commonly
25      used “non-GMO” related labeling terms in the same fashion consumers do, demonstrating that
        “non-GMO,” “does not contain GMOs,” and “GMO free” have an identical and synonymous
26      meaning to consumers. The FDA also points out that the while the “O” in the acronym GMO
        generally refers to the word “organism” because an entire organism is generally not contained in a
27      food (microorganisms in the dairy product yogurt being a cited exception), GMO is generally “read
        as meaning that the food was not derived from a genetically modified organism, such as a plant that
28      has been genetically engineered.” Id. (emphasis in original).

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1       “non-GMO” consumer information sources and certification agencies as well as
2       government authorities. The successful results of their efforts to develop a consumer
3       understanding of “non-GMO” and related terms in this manner are demonstrated by
4       market research surveys as discussed below.
5             24.    The Non-GMO Project, for example, serves as one of the leading
6       educational providers for consumers given its unique status as North America’s
7       “only third-party verification and labeling for non-GMO food and products.” In
8       response to increased use of GMOs, the Non-GMO Project was formed in the early
9       2000s with the goal of “creating a standardized meaning of non-GMO for the North
10      American food industry.” Because of the Non-GMO Project’s work with companies
11      and food producers, through its Independent Verification Program, its Non-GMO
12      Project Verified seal is now found on over 50,000 food products and with 3,000
13      participating brands.10 Further, it makes significant educational outreach efforts
14      through its Non-GMO Project and LivingNonGMO.org websites. Combined, these
15      websites are host to over 200 million visits a year. Consumers thus readily and
16      understandably associate the terms “GMO”, “non-GMO,” and similar marketing
17      claims, consistently with definitions set by the Non-GMO Project.
18            25.    Accordingly, consumers understand that any product or ingredient that
19      is contaminated by or with GMOs is not “non-GMO.” And, the Non-GMO Project
20      specifically extends its definition of “Non-GMO or No-GM” to any “plant, animal,
21      or other organism whose genetic structure has not been altered by gene splicing” and
22      to “a process or product that does not employ GM processes or inputs.”11 Per the
23      consumers’ leading industry source, the Non-GMO Project states that “animal feed
24      commonly contains High-Risk Inputs” in the form of genetically modified or
25
        10
           See The Non-GMO Project, Verification FAQs, https://www.nongmoproject.org/product-
26      verification/verification-faqs/ (last accessed Mar. 9, 2022).
        11
27         The Non-GMO Project, Non-GMO Project Standard (Dec. 30, 2020), at 24, available at
        https://www.nongmoproject.org/wp-content/uploads/Non-GMO-Project-Standard-Version-16.pdf
28      (last accessed Mar. 9, 2022).

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1       engineered feed. As a result, animal food products (such as meat, poultry, and dairy)
2       are included on the Non-GMO Project’s list of High-Risk ingredients. For animal
3       products to be properly labeled as “non-GMO,” they must meet a number of
4       stringent requirements, including that the animals and poultry be fed seed that is less
5       than 5% GMO for various periods of the animal’s life (including the entire life for
6       meat animals other than poultry). Other GMO awareness campaigns similarly advise
7       consumers that to avoid GMOs they should avoid “meat, eggs, and dairy products
8       that have eaten GMO feed” furthering the consumer understanding that “non-GMO”
9       and related marketing, labeling[,] and advertising claims indicate to consumers that
10      the animal products were not raised on genetically modified feed.12
11             26.    The federal government has also taken steps to adopt standards that
12      assist companies and consumers with understanding that “non-GMO” labeling means
13      that animal products are not raised on GMO derived feed. For example, in mid-
14      2013, the U.S. Department of Agricultures’ Food Safety and Inspection Service,
15      tasked with regulating the safety and proper labeling of meat, poultry, and egg
16      products, approved the Non-GMO Project Verified label claim for meat and liquid
17      egg products.13 These government efforts are intended to inform consumers that the
18      animal was not raised on a diet that consists of genetically engineered ingredients,
19      like corn, soy, and alfalfa.          Accordingly, consumers understandably associate
20      advertising or labeling with the terms “non-GMO” or “GMO free” with products
21      whose ingredients have not been tainted by GMOs or sourced from animals fed with
22      GMOs.
23             27.    Market research also supports the fact that consumers understand and
24      expect that advertisements and labeling of “non-GMO,” “GMO free,” or related
25      12
           GMO Awareness, Overview, https://gmo-awareness.com/avoid-list/overview/ (last accessed
        Mar. 11, 2022).
26      13
           See Food Liability Law, USDA Approves Non-GMO Label Claim for Meat and Egg Products
27      (Jul. 11, 2013), http://www.foodliabilitylaw.com/2013/07/articles/legislation-and-regulation/food-
        labeling/usda-approves-non-gmo-label-claim-for-meat-and-egg-products/ (last accessed Mar. 9,
28      2022).

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1       claims have similar meanings and would not apply to foods sourced from animals
2       fed with a GMO or a genetically engineered diet. For example, a poll of Ohio voters
3       by Public Policy Polling in December 2015 indicated that 76% of consumers would
4       “[e]xpect that a dairy product labeled as “non-GMO” was made using milk from
5       cows that had not been fed any genetically modified feed.”14                     Only 11% of
6       respondents would not expect such a product to come from cows fed only with non-
7       GMO feed.15
8              28.    As these poll results indicate, “consumer awareness of GMOs is almost
9       universal at 97%.”16 Consumers reasonably understand food advertised or labeled as
10      “non-GMO,” “GMO free,” “does not contain GMOs,” or other similar claims only
11      apply to food that (1) does not contain GMOs and is not sourced from, or derived
12      from any GMOs; and (2) does not contain animal products such as meat, poultry,
13      pork and dairy that have a diet of GMO feed, GMO contaminated feed and/or
14      genetically modified or engineered feed. Consumers also understand that the term
15      “food” applies broadly to food and drink, which is also how the FDA defines it. 21
16      U.S.C. § 321(f)(1).
17             D.     Consumers Perceive GMOs As Negative And Unhealthy
18             29.    Today, genetically modified crops are used in biological and medical
19      research, production of pharmaceutical drugs, experimental medicine, and
20      agriculture. Such crops are engineered to, among other things, resist certain pests,
21      diseases, or environmental conditions, reduce spoilage, increase size and yield, taste
22      and look better, and resist chemical treatments. In the United States, 94% of the
23
        14
24         See The Mellman Group, “Nearly All Voters Continue to Want GMO Foods Labeled,” (Nov. 23,
        2015) http://4bgr3aepis44c9bxt1ulxsyq.wpengine.netdna-cdn.com/wp-
25      content/uploads/2015/12/15memn20-JLI-d6.pdf (last accessed Mar. 9, 2022).
        15
           See also Center for Food Safety, U.S. Polls On GE Food Labeling (listing other relevant surveys
26      regard GMO food labeling and consumer preferences).
        16
27         “Consumer Awareness of GMOs Continues to Soar,” Non-GMO Project (Aug. 7, 2018),
        https://www.nongmoproject.org/blog/consumer-awareness-of-gmos-continues-to-soar/ (last
28      accessed Mar. 9, 2022).

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1       planted area of soybeans, 95% of cotton, and 92% of corn are genetically modified
2       varieties.17
3              30.     Since 1996, farmers in animal agriculture (including poultry) have
4       optimized GMOs by feeding genetically modified grains (corn) and oilseeds
5       (soybean) to their flocks and herds.18 Because more than 90% of the corn and
6       soybeans in the United States are raised from genetically modified seeds, almost all
7       corn and soybean used in conventional livestock and poultry feed is genetically
8       modified. In addition, other genetically modified crops such as cotton, canola, sugar
9       beets, and alfalfa are commonly used in animal feed.19 Consequently, most meat and
10      dairy products are contaminated with GMOs due to the feed consumed by livestock
11      and poultry and cannot be labeled as “non-GMO” without deceiving consumers.
12      Because the safety or health impact of food and other goods derived from genetically
13      modified crops has been and continues to be hotly debated,20 it is no surprise that
14      according to a Pew Research Center survey, only 37% of the general public believes
15      that “it is generally safe to eat genetically modified (GM) foods.”21
16
17
18
        17
19         United States Department of Agriculture Economic Research Service, Adoption of Genetically
        Engineered Crops in the U.S.(July 9, 2015), http://www.ers.usda.gov/data-products/adoption-of-
20      genetically-engineered-crops-in-the-us.aspx (last accessed Mar. 9, 2022).
        18
           See National Chicken Council, Genetically Modified Organism (GMO) Use in the Chicken
21      Industry (July 5, 2013), http://www.nationalchickencouncil.org/genetically-modified-organism-
        gmo-use-in-the-chicken-industry/ (Mar. 9, 2022).
22      19
           See GMO Inside Blog, “How Pervasive are GMOs in Animal Feed?” Green America (July 16,
23      2013), http://gmoinside.org/gmos-in-animal-feed/ (Mar. 9, 2022).
        20
           Compare, e.g., European Commission, A Decade of EU-funded GMO Research (2001-2010),
24      https://op.europa.eu/en/publication-detail/-/publication/d1be9ff9-f3fa-4f3c-86a5-beb0882e0e65
        (last accessed Mar. 9, 2022), with Non GMO Project, GMO Facts,
25      http://www.nongmoproject.org/learn-more/ (last accessed Mar. 9, 2022) (“Meanwhile, a growing
        body of evidence connects GMOs with health problems, environmental damage and violation of
26      farmers’ and consumers’ rights.”).
        21
27         Pew Research Center, Public and Scientists’ Views on Science and Society (Jan. 29, 2015),
        https://www.pewresearch.org/science/2015/01/29/public-and-scientists-views-on-science-and-
28      society/ (last visited Mar. 9, 2022).

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1              31.     While the potential environmental and health impact of GMOs has been
2       the subject of much scrutiny and debate within the food and science industries,22
3       Defendant and other businesses know customers attach an unhealthy, negative
4       perception towards them.23 Defendant’s Non-GMO Claims are specifically intended
5       to manipulate consumers into avoiding GMOs, including animal food products raised
6       on GMO feed, because of health and environmental concerns.
7              32.     As a result of GMO controversy and consumer concerns, companies
8       have created an $11 billion (and fast growing) market for non-GMO products and
9       consumers are willing to pay the higher costs associated with non-GMO products
10      due to the negative perception of genetically modified foods and because GMO-free
11      ingredients are often more expensive.24 And, there is no dispute that GMO labeling
12      is a material and important issue to consumers. In a November 2015 poll, 89% of
13      likely voters in 2016 would support labeling of GMO foods. And, 77% percent of
14      those “strongly favored” such a requirement. These poll results clearly show that
15      Americans want to know if the food they are purchasing are non-GMO. Thus, there
16      is no dispute that GMO labeling is a material and important issue to consumers.25
17      22
           The Institute for Responsible Technology—“a world leader in educating the public and change-
        makers about the health risks and environmental dangers of GMOs and associated pesticides”—for
18      example, outlines several health risks associated with the use of GMOs, including the growth of
        pre-cancerous cells, stomach lesions, change changes in blood cells, and livers and kidneys in the
19      animals studied. The Institute identified several other issues such as skin and intestinal reactions.
        See “65 Health Risks of GM Foods,” https://www.responsibletechnology.org/gmo-dangers/65-
20      health-risks-of-gm-foods/ (last accessed Mar. 28, 2022).
        23
           See, e.g., Stephanie Strom, “Similac Advance Infant Formula to Be Offered in G.M.O-Free,”
21      The New York Times (May 25, 2015), https://www.nytimes.com/2015/05/26/business/similac-
        advance-infant-formula-to-be-offered-gmo-free.html (last accessed Mar. 11, 2022) (“Abbott will
22      join a growing number of companies offering products without genetically modified organisms.
        Consumer demand for such products has been growing, despite a concerted and expensive effort by
23      trade groups representing major food manufacturers and the biotech industry to convince them that
        genetically altered ingredients are not harmful to human health.”).
24      24
           See Gluten Free Living, GMO Free Comes at a Price, Gluten-Free Living (Nov. 25, 2014),
25      http://www.glutenfreeliving.com/gluten-free-lifestyle/non-gmo/gmo-free-comes-at-price/ (last
        accessed Mar. 9, 2022); The Mellman Group, Inc., Voters Want GMO Food Labels Printed On
26      Packaging, http://4bgr3aepis44c9bxt1ulxsyq.wpengine.netdna-cdn.com/wp-
        content/uploads/2015/12/15memn20-JLI-d6.pdf (last accessed Mar. 9, 2022).
27      25
           The Mellman Group, Inc., Voters Want GMO Food Labels Printed On Packaging,
        http://4bgr3aepis44c9bxt1ulxsyq.wpengine.netdna-cdn.com/wp-
28      content/uploads/2015/12/15memn20-JLI-d6.pdf (last accessed Mar. 9, 2022).
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1             E.     Defendant’s False, Misleading, And Deceptive Non-GMO Claims
2             33.    In 2018, sales of baby food and infant formula amounted to $6.9 billion,
3       a level that has more or less remained unchanged over the past three years.26
4       Defendant has been repeatedly identified as a “major player[]” in that market.27 In
5       fact, Defendant reported to shareholders that “the nutritional business experienced
6       above-market growth . . . driven by market leading brands Similac and Pedialyte.”28
7       Provided the significance of this segment to Defendant’s portfolio, Defendant has an
8       enormous incentive to increase its market share in this area.
9             34.    According to one study, behind the brand name, the presence of an
10      “Organic / Non-GMO” label on infant formulas and toddler milk represent the
11      second foremost factor that consumers consider when making their purchases.29
12      Therefore, product offerings that include the Non-GMO label on baby foods and
13      infant formulas provides a significant avenue for growth.
14            35.    Recognizing this reality, Defendant expanded its “Non-GMO” product
15      lines in 2015, noting that “We listen to moms and dads, and they’ve told us they
16      want a non-G.M.O. option;” that “We want to make sure we meet the desires of
17      parents;” and that “Over one-third of [Similac] consumers say [non-GMO infant
18      formula] would appeal to them and given them peace of mind.”30 In line with this
19      26
           Business Wire, “Baby Food Market in the United States, 2019 Report,” (May 21, 2019),
        https://www.businesswire.com/news/home/20190531005441/en/Baby-Food-Market-in-the-United-
20      States-2019-Report---ResearchAndMarkets.com (last accessed Mar. 9, 2022).
        27
           See, e.g., PR Newswire, “Global $74.4 Bn Baby Food and Infant Formula Markets, 2011-2018 &
21      2019-2024 Featuring Abbott Nutrition, Nestle, Danone, Mead Johnson & Kraft Heinz,” (Apr. 30,
        2019) (https://www.prnewswire.com/news-releases/global-74-4-bn-baby-food-and-infant-formula-
22      markets-2011-2018--2019-2024-featuring-abbott-nutrition-nestle-danone-mead-johnson--kraft-
        heinz-300840759.html) (last accessed Mar. 11, 2022).
23      28
           Abbott Laboratories, Form 10-K Annual Report (Feb. 22, 2019),
24      https://sec.report/Document/0001047469-19-000624/ (last accessed Mar. 11, 2022).
        29
           Tassneem Rajeh, “Provision of Added Value Infant Formula And Toddler Milk To Infants and
25      Toddlers,”(2020),
        https://www.proquest.com/openview/4ca50d80afac71637c9c008cdd8daf3c/1?pq-
26      origsite=gscholar&cbl=18750&diss=y (last accessed Mar. 9, 2022).
        30
27         Stephanie Strom, “Similac Advance Infant Formula to Be Offered G.M.O-Free,” The New York
        Times (May 25, 2015), https://www.nytimes.com/2015/05/26/business/similac-advance-infant-
28      formula-to-be-offered-gmo-free.html (last accessed Mar. 9, 2022).

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1       sentiment, Defendant states directly on its website that “We know that now, more
2       than ever, moms want a fresh approach to infant nutrition. Whether you’re looking
3       for a formula that has organic ingredients, no artificial hormones, or no GMOs,
4       Similac offers an option that’s right for you and your little one.”31
5             36.    And Defendant’s statements extend to the Product packaging, where,
6       instead of the Non-GMO Project’s seal, Defendant prominently includes its own seal
7       or logo, which is substantially identical to the image set out below:
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10
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              37.    In addition, Defendant has engaged in a multi-media mass marketing
14
        and advertising campaign to inform consumers that it was going “non-GMO” since
15
        approximately March 2015, through various methods including claims on its
16
        website, social media, in-store signage at the brick-and-mortar retail locations where
17
        its Products are sold, and—most importantly—prominent Non-GMO claims affixed
18
        to the labeling and/or packaging of its Products.
19
              38.    These efforts, including Defendant’s prominent use of its own Non-
20
        GMO label affixed to Product packaging, are intended to further Defendant’s desire
21
        to appear as supporting healthy food for infants and toddlers, thereby increasing its
22
        share of the booming baby foods and infant formulas market and, correspondingly,
23
        the revenues it derives from that market.
24
              39.    However, rather than manufacture infant formulas that are “Non-GMO”
25
        as understood by reasonable consumers, Defendant has manufactured its own
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27
        31
          Similac, “Organic and Non-GMO Baby Formula,” https://www.similac.com/baby-
28      feeding/formula-guide/organic-non-gmo.html (last accessed Mar. 9, 2022).
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                       16
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1       approach, and has otherwise sought to deceive consumers by passing the buck to its
2       suppliers.32
3             F.       Defendant’s Products Contain Genetically Modified Ingredients
4                      Despite Being Marketed As “Non-GMO”
5             40.      All of the Similac Products at issue are substantially similar.      All
6       varieties contain Defendant’s “Non-GMO” Claim featured prominently on the front
7       of the Product’s labeling and/or packaging.       However, Defendant’s Non-GMO
8       claims are deceptive and misleading to reasonable consumers because: (1)
9       Defendant’s Products are in fact loaded with ingredients derived from GM-crops; (2)
10      Defendant’s Products also contain protein and/or dairy sources derived from cows
11      raised on GMO feed; and (3) Defendant’s Non-GMO seal may be easily confused
12      with a third-party Non-GMO verification. Even worse, none of the Product labels
13      expressly state that the Products contain GMOs, and Defendant does not adequately
14      disclose any of this information to consumers on its Product labels or on its website.
15                     (a)   Defendant’s Products Contain Animal Byproducts That Are Not
16      Non-GMO:        As set forth above, consumers understand the terms “non-GMO,”
17      “GMO free,” and similar representations, to apply only to ingredients that do not
18      come from animals fed with genetically engineered or GMO derived feed.
19      Defendant deceptively advertises, labels, and markets its Products as “Non-GMO” or
20      “GMO free” even though each of the Products at issue in this case contains whey-
21      based protein sources (among other dairy-based ingredients) – including whey
22      protein isolate, whey protein concentrate, cultured whey protein concentrate, etc. –
23      derived from animals (specifically, cows) that are fed with a genetically engineered
24      or GMO-derived feed. Additionally, many Products also contain other dairy-based
25
26
        32
          Similac, “Organic and Non-GMO Baby Formula,” https://www.similac.com/baby-
27      feeding/formula-guide/organic-non-
        gmo.html#:~:text=What%20is%20non%2DGMO%20formula,%C2%AE%20Organic%20with%20
28      A2%20Milk (last accessed Mar. 11, 2022).
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1       ingredients derived from cows raised on GMO feed, such as milk, nonfat milk, and
2       lactose.
3                    (b)    Defendant’s Products Contain Ingredients Derived From GM-
4       Crops And Therefore Are Not Non-GMO: As detailed below, Defendant’s Products
5       contain numerous ingredients derived from GM crops.                For instance, each of
6       Defendant’s Products contains soy protein isolate, an ingredient derived from GM
7       soybean. Most of Defendant’s Products also contain ingredients derived from GM
8       soybean and sugar beets.
9             41.    Defendant’s Products contain, without limitation, one or more of the
10      following ingredients:
11                         Assorted Dairy Ingredients and Products (including lactose,
12      nonfat dry milk, cultured whey proteins, whole milk, etc.). These ingredients are
13      specifically identified as genetically modified ingredients by the Institute for
14      Responsible Technology.33 The United States currently devotes nearly 75 million
15      acres of land to the production of soybeans, most of which are fed to animals.
16      Similarly, much of the nation’s 80 to 90 million acres of corn is fed to livestock.
17      Since 85 to 95% of these crops are GMO, it is safe to assume – unless provided
18      proper certification – that “normal” dairy products contain GMO ingredients in one
19      form or another. Thus, unless a product is USDA Certified Organic or has a Project
20      Non-GMO Verified seal, “ALL dairy products can be assumed to come from
21      commercial/industrial dairy sources (CAFO - concentrated animal feeding
22      operations) whose cows are typically fed GM-corn, cottonseed, alfalfa[,] or soybean
23      feed.”34
24      33
           The Institute for Responsible Technology, “Non-GMO Shopping Guide,”
25      https://www.pilgrimsmarket.com/pdf/Non-GMO-Shopping-Guide.pdf at 14 (last accessed Mar. 28,
        2022).
        34
26         See Chef Alain Braux, GMO 101, A Practical Guide: Potential Sources of Genetically
        Engineered Ingredients in Food, at 184, available at
27      https://play.google.com/books/reader?id=YeHXBQAAQBAJ&pg=GBS.PA2&hl=en. As Chef
        Alain Braux, award-winning executive chef and multiple award-winning food and health author,
28      further explained:

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1                       Citric Acid.         This ingredient is included on The Institute for
2       Responsible Technology’s list of GMO ingredients.35 Citric acid was the first
3       additive that was produced on a large scale biotechnically. Most citric acid found in
4       food is a commodity chemical produced by feeding simple carbohydrates to
5       Aspergillus niger mold and then processing the resulting fermented compound.
6       Citric acid-producing microorganisms grow on culture media that usually contain
7       molasses (which is derived from sugar beet, a GM crop) and/or glucose (which
8       usually comes from corn, another GM crop). Calcium hydroxide and sulfuric acid
9       are often used in processing.36
10                      Inositol. This ingredient is included on the Institute for Responsible
11      Technology’s list of GMO ingredients.37 Commercial production of inositol follows
12      a two-step process in which (1) phytic acid is extracted from plants, such as corn or
13      rice, and (2) one of several chemical processes is used to transform the phytic acid
14      into inositol. The phytic acid is extracted by soaking the vegetable material in a
15      dilute acid solution, such as hydrochloric acid or sulfuric acid, and then using
16      filtration or another mechanical separation technique followed by precipitation using
17      an alkali reagent and additional mechanical separation. The extracted phytin is then
18      converted to inositol as the phytin is hydrolyzed with a strong sulfuric acid solution
19               The United States currently devotes nearly 75 million acres of land to the production of
                 soybeans, most of which are fed to animals. Similarly, much of the nation’s 80 to 90
20               million acres of corn is fed to livestock. Since 85 to 95% of these crops are GMO, it is safe
                 to assume – unless provided proper certification – that “normal” dairy products contain
21               GMO ingredients in one form or another.
22               In the United States more than 99% of farm animals come from factory farming.
                 Conventional cattle grown in [concentrated animal feeding operations (‘CAFOs’)] is fed
23               what is called concentrated feed. It can mean any number of things, but the base food is
                 always a grain slurry, typically of GMO corn and corn byproducts, GMO soy and soy hulls,
24               and other grains and cereals. CAFO nutritionists sometimes also include GM cotton
                 byproducts and GM sugar beets in their cows’ diet.
25      Id. (emphasis added).
        35
26         See supra n. 33.
        36
           See Chef Alain Braux, GMO 101, A Practical Guide, 103 (2014); see also New Hope Network,
27      Is citric acid natural (Dec. 19, 2004), available at https://www.newhope.com/ingredients-
        general/is-citric-acid-natural (last accessed Mar. 11, 2022).
28      37
           See supra n. 33.
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1       and then steamed pressured.              The result is a synthetic that is industrially
2       manufactured.
3                          Soluble Corn Fiber. This ingredient is included on the Institute
4       for Responsible Technology’s list of GMO ingredients.38 Soluble corn fiber, also
5       referred to as resistant maltodextrin, is a non-digestible fiber made from GMO corn
6       syrup, which is chemically processed. It is produced using enzymatic hydrolysis, a
7       process that involves breaking the chemical bonds of a molecule using enzymes.39
8       During this process, it is then heated, hydrolyzed, and filtered into a white tasteless
9       powder.      Commercially, soluble corn fiber used in food products to thicken
10      processed foods like protein bars, cereals, baked goods, dairy products, and salad
11      dressings, and as a sweetener in place of sugar.
12                         Soy Lecithin. This ingredient is included on the Institute for
13      Responsible Technology’s list of GMO ingredients.40 Soy lecithin, or lecithin, is a
14      processed by-product of the production of soybean oil, which comes from GM
15      soybean. It is derived from the sludge left after crude oil undergoes a degumming
16      process. More specifically, to produce soybean oil, soybeans are ground into small
17      fragments and then flakes. The flakes are then combined with hexane or another
18      similar solvent. The resulting product is subjected to heat to remove the solvents.
19      Clarified soybean oil is then produced when the gum and water are mechanically
20      separated from the crude soybean oil. The waste sludge or gum left remaining is
21      then dried to produce lecithin.
22                         Soy Protein. This ingredient is included on the Institute for
23      Responsible Technology’s list of GMO ingredients.41 Soy proteins derive from GM
24      38
           See supra n. 33.
        39
25         See Healthline, Is Soluble Corn Fiber Good for You? Benefits and Side Effects (Mar. 18, 2021),
        https://www.healthline.com/nutrition/soluble-corn-fiber (last accessed Mar. 11, 2022); see also Dr.
26      David Friedman’s Health Blog, Are You Eating Soluble Corn Fiber?,
        https://doctordavidfriedman.com/blog/are-you-eating-soluble-corn-fiber (last accessed Mar. 11,
27      2022).
        40
           See supra n. 33.
28      41
           See supra n. 33.
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1       soybeans and are mainly used as ingredients in formulated foods. It is made from
2       soybean meal that has been dehulled and defatted. Dehulled and defatted soybeans
3       are processed into three kinds of high protein commercial products: soy flour, soy
4       protein concentrate (SPC), and soy protein isolate (SPI).42 As shown below, each of
5       Defendant’s Products lists one or both of the latter two forms of GMO soy protein as
6       a primary ingredient.
7                          Soy Protein Isolate (SPI). This ingredient is included on the
8       Institute for Responsible Technology’s list of GMO ingredients.43 SPI is protein
9       from GM soybeans that has been isolated from all the other ingredients in soy via
10      chemical engineering. To do this, the soybeans are first washed with an acid and
11      then neutralized in an alkaline solution.            During this process, the soybean is
12      chemically modified, processed, and filled with pesticides.                   Thus, SPIs “are
13      genetically modified foods.”44 The extraction process often leaves behind residue
14      from chemicals and metals like hexane or aluminum, and it also strips the powder of
15      the zinc and iron typically present in soybean products. At the end of the entire SPI-
16      making process, what remains is a dry powder that is about 90-95% protein and
17      nearly carbohydrate- and fat-free. Additionally, SPI also contains phytates, also
18      called anti-nutrients, which reduce the body’s ability to absorb iron and zinc. SPI
19      has been used since 1959 in foods for its functional properties. It is often used in
20      products like protein bars, flour, cereal, and meat and dairy alternatives.45
21
        42
22         See E.W. Lucas, et al., Soy Protein Products: Processing And Use, 125 J. Nutr (1995), 573S, at
        https://pubmed.ncbi.nlm.nih.gov/7884536/; see also G N Bookwalter, Soy Protein Utilization In
23      Food Systems, 105 Adv Exp Med Biol (1978), 749, at https://pubmed.ncbi.nlm.nih.gov/569429/
        (last accessed Mar. 11, 2022).
24      43
           See supra n. 33.
        44
           Eat This, Not That!, What is Soy Protein Isolate and Is It Bad For You? (Jan. 4, 2020),
25      https://www.eatthis.com/soy-protein-isolate/ (last accessed Mar. 11, 2022) (“If you have an
        inflammatory condition or otherwise opt to stay away from GMO’s, you probably want to steer
26      clear of SPI.”).
        45
27         Id.; see also Women’s Health, “Soy Protein Isolate” Is In So. Many. Things. But Is It Healthy?
        (May 28, 2019), https://www.womenshealthmag.com/food/a27559289/soy-isolate-protein/ (last
28      accessed Mar. 11, 2022).

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1                      Soy Oil. This ingredient is included on the Institute for Responsible
2       Technology’s list of GMO ingredients.46 Soy or soybean oil is made by extracting
3       oil from whole soybeans. This process involves dehulling and crushing soybeans,
4       adjusting the soybeans for moisture content, and heating the soybeans to between
5       140-190 ºF. The soybeans are then rolled into flakes which are then put in a
6       percolation extractor and immerged with a solvent, normally hexane. The hexane is
7       then separate from the soybean oil in evaporators.                The evaporated hexane is
8       recovered and returned to the extraction process.
9                      Whey Protein.           This ingredient is included on the Institute for
10      Responsible Technology’s list of GMO ingredients.47 Whey protein is made with the
11      protein isolated from the liquid by-product of cheese. Commercially produced whey
12      protein from cow’s milk typically comes in four major forms: whey protein isolate
13      (WPI), whey protein concentrate (WPC), whey protein hydrolysate (WPH), and
14      native whey protein. WPCs are 29–89 percent protein by weight. WPIs, which are
15      further processed to remove all the fat and lactose, are usually at least 90 percent
16      protein.48    Accordingly, Defendant’s Non-GMO Claims about its Products are
17      deceptive and misleading to reasonable consumers.
18             42.    For example, one of Defendant’s Products, “Similac Pro-Advance
19      Infant Formula with Iron Milk-Based Powder,” as purchased by Plaintiff,
20      prominently represents that it is “Non-GMO.”                However, as shown below, the
21      Product contains several genetically modified ingredients, including nonfat milk,
22      lactose, whey protein concentrate, soy oil, soy lecithin, and mixed tocopherols:
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24
25
        46
26         See supra n. 33.
        47
           See supra n. 33.
        48
27         WPI goes through the same initial processing as WPC; however, to isolate the protein to higher
        concentrations than typical WPC, WPI is sent through additional filtering loops, which further
28      removes lactose, fat, and undesired minerals.

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12            43.      Likewise, Defendant’s Similac “Pro-Advance Infant Formula with Iron
13      Ready to Feed” prominently represents that it is a “NON-GMO” Product. However,
14      the Product contains several genetically modified ingredients, including nonfat milk,
15      lactose, whey protein concentrate, soy oil, soy lecithin, inositol, and mixed
16      tocopherols:
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        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                      23
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1             44.    Similarly, Defendant’s “Similac Pro-Sensitive Infant Formula with Iron
2       Milk-Based Formula” also prominently represents that it is “Non-GMO.” However,
3       the Product contains several genetically modified ingredients, including corn syrup,
4       milk protein isolate, soy oil, soy lecithin, inositol, and mixed tocopherols:
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16            45.    Defendant’s “Similac Pro-Sensitive Infant Formula with Iron Milk-
17      Based Ready to Feed” prominently represents that it is “Non-GMO.” However, the
18      Product contains several genetically modified ingredients, including corn
19      maltodextrin, milk protein isolate, soy oil, soy lecithin, and inositol:
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        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                     24
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7             46.   Likewise, Defendant’s Similac Pro-Total Comfort Infant Formula with
8       Iron Milk-Based Powder contains the prominent “Non-GMO” representation directly
9       on the front of the product packaging.     However, the Product contains several
10      genetically modified ingredients, including corn maltodextrin, whey protein
11      hydrolysate, soy oil, and mixed tocopherols:
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        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                  25
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1             47.    Similac Pro-Total Comfort Infant Formula with Iron Milk-Based Ready
2       to Feed contains the prominent “Non-GMO” representation directly on the front of
3       the Product packaging. However, the Product contains several genetically modified
4       ingredients, including corn syrup solids, whey protein hydrolysate, soi oil, soy
5       lecithin, and inositol:
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19            48.    Defendant’s “Go & Grow by Similac Milk-Based Powder” also
20      prominently features a Non-GMO label directly on the front of the packaging.
21      However, the Product contains several genetically modified ingredients, including
22      nonfat milk, lactose, soy oil, soy lecithin, inositol, and mixed tocopherols:
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        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                    26
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10            49.      Likewise, Defendant’s “Go & Grow by Similac Sensitive Milk-Based
11      Powder” prominently features a Non-GMO representation directly on the front of the
12      Product packaging. However, the Product contains several genetically modified
13      ingredients, including corn syrup, milk protein isolate, soy oil, and mixed
14      tocopherols:
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25            50.      Similarly, Defendant’s “Similac for Supplementation Infant Formula
26      with Iron” bottles are prominently labeled “Non-GMO” on the front of the
27      packaging.     But this formula contains several genetically modified ingredients,
28      including nonfat milk, lactose, soy oil, and whey protein concentrate:
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                   27
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23            51.   Defendant’s “Similac for Supplementation Powder Milk-Based Infant
24      Formula” is also prominently labeled as “Non-GMO” directly on the front of the
25      Product packaging. However, the Product contains multiple genetically modified
26      ingredients, including nonfat milk, lactose, whey protein concentrate, soy oil, soy
27      lecithin, and mixed tocopherols:
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        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                    28
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1             52.    The presence of genetically modified ingredients in the Products renders
2       Defendant’s description of “Non-GMO” false and misleading under an objective
3       reasonable consumer standard.
4                                      RULE 9(B) ALLEGATIONS
5             53.    Federal Rules of Civil Procedure, Rule 9(b) provides that “[i]n alleging
6       fraud or mistake, a party must state with particularity the circumstances constituting
7       fraud or mistake.” Fed. R. Civ. P. 9(b). To the extent necessary, as detailed in the
8       paragraphs above and below, Plaintiff has satisfied the requirements of Rule 9(b) by
9       establishing the following elements with sufficient particularity:
10            54.    WHO: Defendant made material misrepresentations and omissions of
11      fact in the labeling, packaging, and marketing of the Products.
12            55.    WHAT: Defendant made material misrepresentations and omissions of
13      fact by using the terms “Non-GMO” in the labeling, packaging, and marketing of the
14      Products. Defendant made these claims with respect to the Products even though the
15      Products did not meet the requirements to make such claims.              Defendant’s
16      misrepresentations and omissions were material because a reasonable consumer
17      would not have purchased or paid as much for the Products if he or she knew that
18      they contained false representations.
19            56.    WHEN:        Defendant made the material misrepresentations and
20      omissions detailed herein continuously throughout the Class Period.
21            57.    WHERE: Defendant’s material misrepresentations and omissions were
22      made, inter alia, on the labeling and packaging of the Products, on Defendant’s
23      website at https://www.similac.com/, on the websites of authorized third-party
24      retailers of the Products, on in-store signage at brick-and-mortar locations of
25      authorized third-party retailers of the Products, and through Defendant’s various
26      other advertisements.
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        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                       29
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1             58.    HOW:      Defendant made written misrepresentations and failed to
2       disclose material facts on the labeling and packaging of the Products and on its
3       website and other advertising.
4             59.    WHY:      Defendant engaged in the material misrepresentations and
5       omissions detailed herein for the express purpose of inducing Plaintiff and other
6       reasonable consumers to purchase and/or pay a premium for Products based on the
7       belief that they were “Non-GMO.” Defendant profited by selling the Products to
8       millions of unsuspecting consumes nationwide.
9                                     CLASS ALLEGATIONS
10            60.    Class Definition. Plaintiff brings this action on behalf of a class of
11      similarly situated individuals, defined as all persons in the United States who, who,
12      within the applicable statute of limitations period, up to and including the date of
13      final judgment in this action, purchased any of the Products at issue (the “Class”).
14                   (a)    California Subclass.      Plaintiff Rocio Lopez also seeks to
15      represent a subclass of all Class Members who, within the applicable statute of
16      limitations period, up to an including the date of final judgment in this action,
17      purchased any of the Products at issue in California (the “California Subclass”).
18            61.    Excluded from the Class and the California Subclass are persons who
19      made such purchase for purpose of resale, Defendant and any entities in which
20      Defendant has a controlling interest, Defendant’s agents and employees, the judge to
21      whom this action is assigned, and members of the judge’s staff, and the judge’s
22      immediate family.
23            62.    Plaintiff reserves the right to amend the definition of the Class and
24      Subclass if discovery or further investigation reveals that the Class or Subclass
25      should be expanded or otherwise modified.
26            63.    Numerosity. Members of the Class and Subclass are so numerous that
27      their individual joinder herein is impracticable. On information and belief, members
28      of the Class and Subclass number in the millions. The precise number of Class
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                           30
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1       Members and their identities are unknown to Plaintiff at this time but may be
2       determined through discovery. Class Members may be notified of the pendency of
3       this action by mail and/or publication through the distribution records of Defendant
4       and third-party retailers and vendors.
5             64.    Commonality and Predominance. Common questions of law and fact
6       exist as to all Class Members and predominate over questions affecting only
7       individual Class Members. Common legal and factual questions include but are not
8       limited to: whether Defendant warranted the Products as “Non-GMO”; whether the
9       Products contain genetically modified organisms; whether Defendant breached these
10      warranties; and whether Defendant committed the statutory and common law
11      violations alleged against them herein by doing so.
12            65.    Typicality. The claims of the named Plaintiff are typical of the claims
13      of the Class in that Plaintiff purchased one of Defendant’s Products in reliance on the
14      representations and warranties described above and suffered a loss as a result of that
15      purchase.
16            66.    Adequacy. Plaintiff is an adequate representative of the Class and the
17      California Subclass because her interests do not conflict with the interests of the
18      Class and the California Subclass Members she seeks to represent, she has retained
19      competent counsel experienced in prosecuting class actions, and she intends to
20      prosecute this action vigorously.        The interests of the Class and the California
21      Subclass Members will be fairly and adequately protected by Plaintiff and her
22      counsel.
23            67.    Superiority. The class mechanism is superior to other available means
24      for the fair and efficient adjudication of the claims of Class Members.          Each
25      individual Class member may lack the resources to undergo the burden and expense
26      of individual prosecution of the complex and extensive litigation necessary to
27      establish Defendant’s liability.   Individualized litigation increases the delay and
28      expense to all parties and multiplies the burden on the judicial system presented by
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                        31
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1       the complex legal and factual issues of this case. Individualized litigation also
2       presents a potential for inconsistent or contradictory judgments. In contrast, the class
3       action device presents far fewer management difficulties and provides the benefits of
4       single adjudication, economy of scale, and comprehensive supervision by a single
5       court on the issue of Defendant’s liability. Class treatment of the liability issues will
6       ensure that all claims and claimants are before this Court for consistent adjudication
7       of liability issues.
8              68.     Defendant has acted or failed to act on grounds generally applicable to
9       the Class, thereby making appropriate final injunctive relief with respect to the Class
10      and Subclass as a whole.
11             69.     Without a class action, Defendant will continue a course of action that
12      will result in further damages to Plaintiff and members of the Class and the
13      California Subclass and will likely retain the benefits of its wrongdoing.
14             70.     Based on the foregoing allegations, Plaintiff’s claims for relief include
15      those set forth below.
16                                      CLAIMS FOR RELIEF
17                                             COUNT I
                     Violations of California’s Unfair Competition Law (“UCL”),
18
                       California Business & Professions Code §§ 17200, et seq.
19                              (On Behalf Of The California Subclass)
20             71.     Plaintiff hereby incorporates by reference the allegations contained in
21      all preceding paragraphs of this complaint.
22             72.     Plaintiff brings this claim individually and on behalf of the members of
23      the proposed California Subclass against Defendant.
24             73.     Defendant is subject to California’s Unfair Competition Law, Cal. Bus.
25      & Prof. Code §§ 17200, et seq. The UCL provides, in pertinent part: “Unfair
26      competition shall mean and include unlawful, unfair or fraudulent business practices
27      and unfair, deceptive, untrue or misleading advertising[.]”
28
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                          32
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1             74.    Defendant’s misrepresentations and other conduct, described herein,
2       violated the “unlawful” prong of the UCL by violating the CLRA as described
3       herein, the FAL as described herein, and Cal. Com. Code § 2607.
4             75.    Defendant’s misrepresentations and other conduct, described herein,
5       violated the “unfair” prong of the UCL in that its conduct is substantially injurious to
6       consumers, offends public policy, and is immoral, unethical, oppressive, and
7       unscrupulous, as the gravity of the conduct outweighs any alleged benefits.
8             76.    Defendant violated the “fraudulent” prong of the UCL by making
9       misrepresentations about the Products at issue that were untrue and misleading, as
10      described herein.
11            77.    Plaintiff and the California Subclass lost money or property as a result
12      of Defendant’s UCL violations because: (a) they would not have purchased the
13      Products on the same terms if the true facts were known about the product; (b) they
14      paid a price premium for the Products due to Defendant’s promises and warranties;
15      and (c) the Products do not have the characteristics as promised by Defendant.
16            78.    Accordingly, Plaintiff may lack an adequate remedy at law, if, for
17      instance, damages resulting from her purchase of the Product is determined to be an
18      amount less than the premium price of the Product. Without compensation for the
19      full premium price of the Product, Plaintiff would be left without the parity in
20      purchasing power to which she is entitled. Further, injunctive relief is necessary to
21      require Defendant to provide full and accurate disclosures regarding the Product so
22      that Plaintiff and Class members can reasonably rely on Defendant’s representations
23      as well as those of Defendant’s competitors who may then have an incentive to
24      follow Defendant’s deceptive practices, further misleading consumers.
25            79.    Restitution and/or injunctive relief may also be more certain, prompt,
26      and efficient than other legal remedies requested herein. The return of the full
27      premium price, and an injunction requiring either (1) adequate disclosure that the
28      Product’s are not in fact Non-GMO; or (2) the removal of such representations, will
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                         33
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1       ensure that Plaintiff is in the same place she would have been in had Defendant’s
2       wrongful conduct not occurred, i.e., in the position to make an informed decision
3       about the purchase of the Product absent misrepresentations with the full purchase
4       price at their disposal.
5                                            COUNT II
                      Violation Of California’s False Advertising Law (“FAL”),
6
                       California Business & Professions Code §§ 17500, et seq.
7                              (On Behalf Of The California Subclass)
8              80.     Plaintiff hereby incorporates by reference the allegations contained in
9       all preceding paragraphs of this Complaint.
10             81.     Plaintiff brings this claim individually and on behalf of the members of
11      the proposed California Subclass against Defendant.
12             82.     California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500,
13      et seq., makes it “unlawful for any person to make or disseminate or cause to be
14      made or disseminated before the public in this state, … in any advertising device …
15      or in any other manner or means whatever, including over the Internet, any
16      statement, concerning … personal property or services, professional or otherwise, or
17      performance or disposition thereof, which is untrue or misleading and which is
18      known, or which by the exercise of reasonable care should be known, to be untrue or
19      misleading.”
20             83.     Defendant committed acts of false advertising, as defined by § 17500,
21      by misrepresenting that the Products are “Non-GMO” products, when in fact they are
22      not.
23             84.     Defendant knew or should have known, through the exercise of
24      reasonable care, that its Non-GMO Claims about the Products were untrue and
25      misleading.
26             85.     Defendant’s actions in violation of § 17500 were false and misleading
27      such that the general public is and was likely to be deceived.
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        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                        34
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1             86.    Plaintiff and the California Subclass lost money or property as a result
2       of Defendant’s FAL violations because: (a) they would not have purchased the
3       Products on the same terms if the true facts were known about the product; (b) they
4       paid a price premium for the Products due to Defendant’s promises and warranties;
5       and (c) the Products do not have the characteristics as promised by Defendant.
6             87.    Plaintiff may lack an adequate remedy at law, if, for instance, damages
7       resulting from her purchase of the Product is determined to be an amount less than
8       the premium price of the Product. Without compensation for the full premium price
9       of the Product, Plaintiff would be left without the parity in purchasing power to
10      which she is entitled. Further, injunctive relief is necessary to require Defendant to
11      provide full and accurate disclosures regarding the Product so that Plaintiff and Class
12      members can reasonably rely on Defendant’s representations as well as those of
13      Defendant’s competitors who may then have an incentive to follow Defendant’s
14      deceptive practices, further misleading consumers.
15            88.    Restitution and/or injunctive relief may also be more certain, prompt,
16      and efficient than other legal remedies requested herein. The return of the full
17      premium price, and an injunction requiring either (1) adequate disclosure that the
18      Product’s are not in fact Non-GMO; or (2) the removal of such representations, will
19      ensure that Plaintiff is in the same place she would have been in had Defendant’s
20      wrongful conduct not occurred, i.e., in the position to make an informed decision
21      about the purchase of the Product absent misrepresentations with the full purchase
22      price at their disposal.
23                                        COUNT III
              Violation Of California’s Consumers Legal Remedies Act (“CLRA”),
24
                             California Civil Code §§ 1750, et seq.
25                          (On Behalf Of The California Subclass)
26            89.    Plaintiff hereby incorporates by reference the allegations contained in
27      all preceding paragraphs of this Complaint.
28
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                        35
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1             90.     Plaintiff brings this claim individually and on behalf of the members of
2       the proposed California Subclass against Defendant.
3             91.     Plaintiff and members of the Class are “consumers” within the meaning
4       of Cal. Civil Code § 1761(d) in that Plaintiff and the Class sought or acquired
5       Defendant’s goods and/or services for personal, family, or household purposes.
6             92.     Defendant’s Products are “goods” within the meaning of Cal. Civil
7       Code § 1761(a). The purchases by Plaintiff and the Class are “transactions” within
8       the meaning of Cal. Civil Code § 1761(e).
9             93.     The acts and practices of Defendant as described above were intended
10      to deceive Plaintiff and the Class as described herein, and have resulted, and will
11      continue to result, in damages to Plaintiff and members of the Class. These actions
12      violated, and continue to violate, the CLRA in at least the following respects: (a)
13      Defendant’s acts and practices constitute representations deceiving that the Products
14      have characteristics, uses, and/or benefits, which they do not have, in violation of
15      Cal. Civil Code § 1770(a)(5); (b) Defendant’s acts and practices constitute
16      representations that the Products are of a particular standard, quality, or grade, when
17      in fact they are of another, in violation of Cal. Civil Code § 1770(a)(7); and (c)
18      Defendant’s acts and practices constitute the advertisement of the Products in
19      question with the intent not to sell them as advertised, in violation of Cal. Civil Code
20      § 1770(a)(9).
21            94.     Defendant violated these provisions of the CLRA by misrepresenting
22      that the Products are “Non-GMO” products, when in fact they are not.
23            95.     Defendant knew or should have known, through the exercise of
24      reasonable care, that its Non-GMO Claims about the Products were untrue and
25      misleading.
26            96.     Plaintiff and the California Subclass suffered injuries caused by
27      Defendant’s CLRA violations because: (a) they would not have purchased the
28      Products on the same terms if the true facts were known about the product; (b) they
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                         36
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1       paid a price premium for the Products due to Defendant’s false and misleading
2       promises and warranties; and (c) the Products do not have the characteristics as
3       promised by Defendant.
4             97.    Plaintiff, on behalf of herself and all other members the California
5       Subclass, seeks an injunction prohibiting Defendant from continuing its unlawful
6       practices in violation of the CLRA.
7             98.    In compliance with the provisions of California Civil Code § 1782,
8       Plaintiff sent written notice to Defendant prior to filing this action on October 7,
9       2021, informing Defendant of her intention to seek damages under California Civil
10      Code § 1750.     The letter was sent via certified mail, return request, advising
11      Defendant that it was in violation of the CLRA and demanding that it cease and
12      desist from such violations and make full restitution by refunding the monies
13      received therefrom. The letter expressly stated that it was sent on behalf of Plaintiff
14      and “all other persons similarly situated.” Accordingly, Plaintiff, individually and on
15      behalf of the proposed California Subclass, seeks monetary damages from Defendant
16      as permitted by Civil Code § 1782(d) for Defendant’s violations of the CLRA.
17            99.    Plaintiff may lack an adequate remedy at law, if, for instance, damages
18      resulting from her purchase of the Product is determined to be an amount less than
19      the premium price of the Product. Without compensation for the full premium price
20      of the Product, Plaintiff would be left without the parity in purchasing power to
21      which she is entitled. Further, injunctive relief is necessary to require Defendant to
22      provide full and accurate disclosures regarding the Product so that Plaintiff and Class
23      members can reasonably rely on Defendant’s representations as well as those of
24      Defendant’s competitors who may then have an incentive to follow Defendant’s
25      deceptive practices, further misleading consumers.
26            100. Restitution and/or injunctive relief may also be more certain, prompt,
27      and efficient than other legal remedies requested herein. The return of the full
28      premium price, and an injunction requiring either (1) adequate disclosure that the
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                        37
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1       Product’s are not in fact Non-GMO; or (2) the removal of such representations, will
2       ensure that Plaintiff is in the same place she would have been in had Defendant’s
3       wrongful conduct not occurred, i.e., in the position to make an informed decision
4       about the purchase of the Product absent misrepresentations with the full purchase
5       price at their disposal.
6                                        COUNT IV
                                 Breach Of Express Warranty
7
                  (On Behalf Of The Nationwide Class And California Subclass)
8             101. Plaintiff hereby incorporates by reference the allegations contained in
9       all preceding paragraphs of this complaint.
10            102. Plaintiff brings this claim individually and on behalf of the members of
11      the proposed Class and California Subclass against Defendant.
12            103. Defendant, as the designer, manufacturer, marketer, distributor, and/or
13      seller of the Products at issue, expressly warranted that the Products as “Non-GMO,”
14      among other Misrepresentations.
15            104. In fact, the Products are not “Non-GMO” as Defendant claims, because
16      they contain several ingredients derived from GMOs, and thus are not as marketed,
17      advertised, and/or warranted.
18            105. As a result of Defendant’s false and/or misleading misrepresentations,
19      including that the Products are “Non-GMO,” the Products were defective and did not
20      adhere to the express warranty when first sold to Plaintiff and Class Members, and
21      have not been repaired, replaced, or otherwise remedied as originally warranted since
22      the time of sale.
23            106. By breaching its express warranty, Defendant has caused and continues
24      to cause these warranties to fail of their essential purpose.
25            107. Plaintiff and Class Members have been injured and harmed as a direct
26      and proximate cause of Defendant’s breach of express warranty because: (a) they
27      would not have purchased the Products on the same terms if the true facts had been
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        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                      38
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1       known at the point of purchase; (b) they paid a price premium for the Products due to
2       Defendant’s false and misleading promises and warranties; and (c) the purportedly
3       “Non-GMO” Products do not have the characteristics, uses, or benefits as promised
4       by Defendant because they contain several ingredients derived from GMOs.
5             108. Plaintiff, individually and on behalf of the Class and the California
6       Subclass, seek all damages permitted by law, including compensation for the
7       monetary difference between the Products as warranted and as sold, along with all
8       other incidental and consequential damages, statutory damages, attorney’s fees, and
9       all other relief allowed by law.
10                                       COUNT V
                     Breach Of The Implied Warranty Of Merchantability
11
                 (On Behalf Of The Nationwide Class And California Subclass)
12            109. Plaintiff hereby incorporates by reference the allegations contained in
13      all preceding paragraphs of this complaint.
14            110. Plaintiff brings this claim individually and on behalf of the members of
15      the proposed Class and the California Subclass against Defendant.
16            111. Defendant, as the designer, manufacturer, marketer, distributor, and/or
17      seller of the Products, impliedly warranted that the Products are “Non-GMO” when
18      in fact they are not, among other Misrepresentations.
19            112. Defendant breached the warranty implied in the contract for the sale of
20      the Products because they could not pass without objection in the trade under the
21      contract description, the goods were not of fair average quality within the
22      description, the goods were not fit for the ordinary purposes for which such goods
23      are used, and the goods do not conform to the promises or affirmations of fact made
24      on the label. As a result, Plaintiff and Class Members did not receive the goods as
25      impliedly warranted by Defendant to be merchantable.
26            113. Plaintiff and Class Members purchased the Products in reliance upon
27      Defendant’s skill and judgment and the implied warranties of fitness for the purpose.
28
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                       39
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1             114. The Products were not altered by Plaintiff or Class Members.
2             115. The Products were defective when they left the exclusive control of
3       Defendant.
4             116. Defendant knew that the Products would be purchased and used without
5       additional testing by Plaintiff and Class Members.
6             117. As a result of Defendant’s false and/or misleading representation that
7       the Products are “Non-GMO” (among other Misrepresentations), the Products were
8       defectively designed and unfit for their intended purpose, and Plaintiff and Class
9       Members did not receive the goods as warranted.
10            118. Plaintiff and Class Members have been injured and harmed as a direct
11      and proximate cause of Defendant’s breach of implied warranty because: (a) they
12      would not have purchased the Products on the same terms if the true facts were
13      known about the Products at the point of purchase; (b) they paid a price premium for
14      the Products due to Defendant’s false and misleading promises and warranties; and
15      (c) the Products do not have the characteristics as promised by Defendant.
16                                      COUNT VI
                               Unjust Enrichment / Restitution
17
                 (On Behalf Of The Nationwide Class And California Subclass)
18            119. Plaintiff hereby incorporates by reference the allegations contained in
19      all preceding paragraphs of this complaint.
20            120. Plaintiff brings this claim individually and on behalf of the members of
21      the proposed Class and the California Subclass against Defendant.
22            121. To the extent the Court determines it is necessary to do so, this claim is
23      pled in the alternative to the other legal claims alleged in the complaint.
24            122. Plaintiff and Class Members conferred benefits on Defendant by
25      purchasing the purportedly “Non-GMO” Products. Defendant was and should have
26      been reasonably expected to provide Products that conform with the qualities listed
27      on their labeling and packaging.
28
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1             123. Defendant has been unjustly enriched in retaining the revenues derived
2       from Plaintiff’s and Class Members’ purchases of the Products. Retention of those
3       moneys under these circumstances is unjust and inequitable because Defendant
4       misrepresented that the Products are “Non-GMO” products (among other
5       Misrepresentations) at the time of sale. These Non-GMO Misrepresentations caused
6       injuries to Plaintiff and Class Members because they would not have purchased the
7       Products if the true facts were known.
8             124. Defendant unjustly profited from the sale of the Products at inflated
9       prices as a result of its false representations, omissions, and concealment of the true
10      qualities of the Products. Defendant benefited at Plaintiff’s and Class Members’
11      expenses when it sold GMO-riddled Products that were inferior to the purportedly
12      “Non-GMO” Products that Plaintiff and Class Members thought they were actually
13      purchasing, yet the price they paid was the price for a “Non-GMO” Products that are
14      100% free of ingredients derived from GM crops or food sources, genetically
15      engineered in a laboratory setting through the use of biotechnologies, or sourced
16      from animals that have been raised on GMO feed.
17            125. As a proximate result of Defendant’s false representations, omissions,
18      and/or concealment of the true qualities of the Products, and as a result of
19      Defendant’s resulting ill-gotten gains, benefits, and profits, Defendant has been
20      unjustly enriched at the expense of Plaintiff and Class Members.          It would be
21      inequitable for Defendant to retain its ill-gotten profits without paying the value
22      thereof to Plaintiff and Class Members.
23            126. There is a direct relationship between Defendant on the one hand, and
24      Plaintiff and Class Members on the other, sufficient to support a claim for unjust
25      enrichment. Defendant marketed and sold the Products with the false and misleading
26      Misrepresentations that they were “Non-GMO” on their labeling and packaging to
27      improve retail sales, which in turn improved wholesale sales. Conversely, Defendant
28      knew that disclosure of the true and GMO-riddled nature of the Products would
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                        41
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1       suppress retail and wholesale sales of the Products, in turn suppressing the demand
2       for the Products, and would negatively impact the reputation of Defendant’s brand
3       among Class Members and consumers.
4             127. Because Defendant’s retention of the non-gratuitous benefits conferred
5       on them by Plaintiff and Class Members is unjust and inequitable, Plaintiff and Class
6       Members are entitled to restitution for their unjust enrichment in the amount of
7       Defendant’s ill-gotten gains, benefits, and profits, including interest thereon.
8       Accordingly, Plaintiff seeks, individually and on behalf of Class and the California
9       Subclass Members, an order requiring Defendant to disgorge its gains and profits to
10      Plaintiff and members of the Classes, together with interest, in a manner to be
11      determined by the Court.
12            128. Plaintiff may lack an adequate remedy at law, if, for instance, damages
13      resulting from her purchase of the Product is determined to be an amount less than
14      the premium price of the Product. Without compensation for the full premium price
15      of the Product, Plaintiff would be left without the parity in purchasing power to
16      which she is entitled. Further, injunctive relief is necessary to require Defendant to
17      provide full and accurate disclosures regarding the Product so that Plaintiff and Class
18      members can reasonably rely on Defendant’s representations as well as those of
19      Defendant’s competitors who may then have an incentive to follow Defendant’s
20      deceptive practices, further misleading consumers.
21            129. Restitution and/or injunctive relief may also be more certain, prompt,
22      and efficient than other legal remedies requested herein. The return of the full
23      premium price, and an injunction requiring either (1) adequate disclosure that the
24      Product’s are not in fact Non-GMO; or (2) the removal of such representations, will
25      ensure that Plaintiff is in the same place she would have been in had Defendant’s
26      wrongful conduct not occurred, i.e., in the position to make an informed decision
27      about the purchase of the Product absent misrepresentations with the full purchase
28      price at their disposal.
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1                                       COUNT VII
2                               Negligent Misrepresentation
                 (On Behalf Of The Nationwide Class And California Subclass)
3
              130. Plaintiff hereby incorporates by reference the allegations contained in
4
        all preceding paragraphs of this complaint.
5
              131. Plaintiff brings this claim individually and on behalf of the members of
6
        the proposed Class and the California Subclass against Defendant.
7
              132. As discussed above, Defendant misrepresented that the Products are
8
        “Non-GMO” (among other misrepresentations), notwithstanding the fact that the
9
        Products do contain several ingredients derived from GMOs and are therefore not, in
10
        fact, “Non-GMO” as their labeling and packaging prominently states.
11
              133. At the time Defendant made these representations, Defendant knew or
12
        should have known that these representations were false or made them without
13
        knowledge of their truth or veracity.         At an absolute minimum, Defendant
14
        negligently misrepresented as “Non-GMO” and/or negligently omitted material facts
15
        about the Products at issue, namely that the Products do, in fact, contain GMOs.
16
              134. Defendant had no reasonable grounds for believing that its
17
        representations were true because Defendant failed to consistently ensure that it was
18
        able to produce the Products as free of GMOs, as advertised.
19
              135. The negligent misrepresentations and omissions made by Defendant,
20
        upon which Plaintiff and Class Members reasonably and justifiably relied, were
21
        intended to induce, and actually did induce, Plaintiff and Class Members to purchase
22
        the Products.    In making these negligent misrepresentations and omissions to
23
        Plaintiff and the Class, upon which Plaintiff and Class Members reasonably and
24
        justifiably relied, Defendant intended to induce, and actually did induce, Plaintiff and
25
        Class Members to purchase its “GMO-Free” Products.
26
              136. At all times herein, Plaintiff and Class Members were unaware of the
27
        falsity of Defendant’s statements.
28
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                         43
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1             137. Plaintiff and Class Members reasonably acted in response to the
2       statements made by Defendant when they purchased the Products.
3             138. As      a   direct   and   proximate   result   of   Defendant’s   negligent
4       misrepresentations and omissions regarding the true nature of the Products, Plaintiff
5       and Class Members were injured. Specifically, Plaintiff and Class Members incurred
6       economic harm as a result of Defendant’s negligent misrepresentations and/or
7       omissions in that they would not have purchased the Products or would not have
8       purchased them on the same terms, but for Defendant’s unlawful conduct alleged
9       herein. Accordingly, Plaintiff and Class Members are entitled to compensatory
10      and/or punitive damages in an amount to be proven at trial.
11                                         COUNT VIII
                                              Fraud
12
                    (On Behalf Of The Nationwide Class And California Subclass)
13            139. Plaintiff hereby incorporates by reference the allegations contained in
14      all preceding paragraphs of this complaint.
15            140. Plaintiff brings this claim individually and on behalf of the members of
16      the proposed Class and Subclass against Defendant.
17            141. As discussed above, Defendant provided Plaintiff and Class Members
18      with false or misleading material information and failed to disclose material facts
19      about the Products, including but not limited to the fact that each of the purportedly
20      “Non-GMO” Products do indeed contain several ingredients derived from GMOs
21      and are therefore not, in fact, “Non-GMO” as their labeling and packaging
22      prominently states.     These misrepresentations and omissions were made with
23      knowledge of their falsehood.
24            142. These misrepresentations and omissions made by Defendant, upon
25      which Plaintiff and Class Members reasonably and justifiably relied, were intended
26      to induce, and actually induced, Plaintiff and Class Members to purchase the
27      Products.
28
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                        44
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1             143. The fraudulent actions of Defendant caused damage to Plaintiff and
2       Class and the California Subclass Members, who are entitled to damages and other
3       legal and equitable relief as a result.
4             144. Further, as a result of Defendant’s willful and malicious conduct,
5       punitive damages are warranted.
6                                        COUNT IX
                                 Fraudulent Misrepresentation
7
                  (On Behalf Of The Nationwide Class And California Subclass)
8             145. Plaintiff hereby incorporates by reference the allegations contained in
9       all preceding paragraphs of this complaint.
10            146. Plaintiff brings this claim individually and on behalf of the members of
11      the proposed Class and the California Subclass against Defendant.
12            147. At all relevant times, Defendant was engaged in the business of
13      manufacturing, marketing, packaging, distributing, and selling the Products.
14            148. Defendant, acting through its representatives or agents, delivered the
15      Products to its own distributors and various other distribution channels.
16            149. Defendant willfully, falsely, and knowingly omitted various material
17      facts regarding the true nature, quality, and characteristics of the Products, namely
18      pertaining to the “Non-GMO” representation.
19            150. Rather than inform consumers of the truth regarding the GMOs in the
20      Products, Defendant misrepresented the Products as “Non-GMO” at the time of
21      purchase.
22            151. Defendant made these material misrepresentations to boost or to
23      maintain sales of the Products, and to falsely assure purchasers that it is a company
24      that cares about GMOs in foods, as discussed throughout. The false representations
25      were material to consumers, including Plaintiff, because the representations played a
26      significant role in the decision to purchase the Products.
27
28
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                      45
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1             152. Plaintiff and Class Members accepted the terms in purchasing the
2       Products, which were silent on the true quality, nature, and characteristics of the
3       Products.   Plaintiff and Class Members had no reasonable way of knowing of
4       Defendant’s misrepresentation as to the Products, and had no way of knowing that
5       the misrepresentations were misleading.
6             153. Although Defendant had a duty, arising, in part, from its superior
7       knowledge, to ensure that accuracy of the information regarding whether its
8       ingredients were in fact genetically modified, it did not fulfill these duties.
9             154. Instead, Defendant misrepresented material facts partly to pad and
10      protect its profits, as it saw that profits and sales were essential for its continued
11      growth and to maintain and grow its reputation as a producer of Non-GMO foods.
12      Such benefits came at the expense of Plaintiff and Class Members.
13            155. Plaintiff and Class Members were unaware of these material
14      misrepresentations, and they would not have acted as they did had they known the
15      truth. Plaintiff’s and the Class Members’ actions were justified given Defendant’s
16      misrepresentations. Defendant was in the exclusive control of material facts, and
17      such facts were not known to the public.
18            156. Due to Defendant’s misrepresentations, Plaintiff and Class Members
19      sustained injury due to the purchase of Products that did not live up to their
20      advertised and packaged representations, especially those concerning the GMO-free
21      representations. Plaintiff and Class Members are entitled to recover full or partial
22      refunds for Products they purchased due to Defendant’s misrepresentations, or they
23      are entitled to damages for the diminished value of their Products, amounts to be
24      determined at trial.
25            157. Defendant’s acts were done maliciously, oppressively, deliberately, and
26      with intent to defraud, and in reckless disregard of Plaintiff and Class member’s
27      rights and well-being, and in part to enrich itself at the expense of consumers.
28      Defendant’s acts were done to gain commercial advantage over competitors, and to
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                       46
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1       drive consumers away from consideration of competitor’s products, and to boost its
2       reputation as a maker of Non-GMO foods.               Defendant’s conduct warrants an
3       assessment of punitive damages in an amount sufficient to deter such conduct in the
4       future.
5                                           JURY DEMAND
6              Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by
7       jury of any and all issues in this action so triable as of right.
8                                      REQUEST FOR RELIEF
9              WHEREFORE, Plaintiff, individually and on behalf of all others similarly
10      situated, seeks judgment against Defendant, as follows:
11
                      (a)    For an order certifying the nationwide Class and the California
12                           Subclass under Rule 23 of the Federal Rules of Civil Procedure
13                           and naming Plaintiff as representative of the Class and of the
                             California Subclass, and Plaintiff’s attorneys as Class Counsel to
14                           represent the proposed Class and Subclass;
15
                      (b)    For an order declaring that Defendant’s conduct violates the
16                           statutes referenced herein;
17
                      (c)    For an order finding in favor of Plaintiff, the Class, and the
18                           California Subclass on all counts asserted herein;
19
                      (d)    For compensatory, statutory, and punitive damages in amounts to
20                           be determined by the Court and/or jury;
21
                      (e)    For prejudgment interest on all amounts awarded;
22
23                    (f)    For an order of restitution and all other forms of equitable
                             monetary relief;
24
25                    (g)    For injunctive relief as pleaded or as the Court may deem proper;
26                    (h)    For an order awarding Plaintiff and members of the Class and
27                           Subclasses their reasonable attorneys’ fees and reimbursement of
                             litigation expenses and costs of suit; and
28
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1
2                  (i)   For such other and further relief as the Court may deem proper.

3
4       Dated: March 30, 2022               Respectfully submitted,

5                                           BURSOR & FISHER, P.A.
6
                                            By:    /s/ L. Timothy Fisher
7
8                                           L. Timothy Fisher (State Bar No. 191626)
                                            Sean L. Litteral (State Bar No. 331985)
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15                                          Attorneys for Plaintiff and the Putative Class
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1         CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
2             I, L. Timothy Fisher, declare as follows:
3             1.     I am an attorney at law licensed to practice in the State of California and
4       a member of the bar of this Court. I am a partner at Bursor & Fisher, P.A., counsel
5       of record for Plaintiff Rocio Lopez. Plaintiff Lopez resides in Imperial, California. I
6       have personal knowledge of the facts set forth in this declaration and, if called as a
7       witness, I could and would competently testify thereto under oath.
8             2.     The Complaint filed in this action is filed in the proper place for trial
9       under Civil Code Section 1780(d) in that a substantial portion of the events alleged
10      in the Complaint occurred in the Southern District of California, as Plaintiff
11      purchased the Products from brick-and-mortar retails stores located within this
12      District. Additionally, Defendant advertised, marketed, manufactured, distributed,
13      and/or sold the Products at issue to Plaintiff from this District.
14            I declare under the penalty of perjury under the laws of the State of California
15      and the United States that the foregoing is true and correct and that this declaration
16      was executed at Walnut Creek, California this 30th day of March, 2022.
17
                                                   /s/ L. Timothy Fisher
18                                                     L. Timothy Fisher
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